                                  UNITED STATES DISTRICT COURT

                                 EASTERN DISTRICT OF LOUISIANA

DONNA LOU, ET AL.                                 *        CIVIL ACTION NO. 21-80

VERSUS                                            *        SECTION “D” (2)

SHERIFF JOSEPH P, LOPINTO,                        *        Judge Wendy B. Vitter
III, ET AL.                                                Magistrate Judge Donna P. Currault

                                Plaintiffs’ Motion for Spoliation Sanctions

            NOW COME the Plaintiffs, through undersigned counsel, and file this motion for

    spoliation sanctions. In support thereof they state:

           The Jefferson Parish Sheriff’s Office has a policy of destroying “all disciplinary records”

after three years.1 The law requires that parties cease such destruction of records once they

reasonably anticipate litigation.

           In this case, JPSO did not stop destroying disciplinary records for almost a year, even though

(1) JPSO received an anti-spoliation letter, (2) JPSO told a judge that the “obligation of preservation

is already in place”; and (3) JPSO received a court order requiring the preservation of records. In

this motion, Plaintiff ask this Court for a spoliation remedy due to JPSO’s choice to continue

destroying disciplinary records despite the multiple, overlapping legal prohibitions against that

continued destruction.

           Because JPSO has violated (1) an explicit court order, (2) state law regarding document

preservation, and (3) federal law regarding a party’s obligation to preserve evidence when litigation

is reasonably anticipated, Plaintiffs’ spoliation motion should be granted.




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    Ex. A (JPSO SOP 22) at 9.
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RESPECTFULLY SUBMITTED,

Andrew C. Clarke (TN BPR # 15409)
The Cochran Firm Midsouth
One Commerce Square, Suite 1700
(901) 523-1222 (Telephone)
aclarke@cochranfirmmidsouth.com

/s/ William Most
WILLIAM MOST (BPR # 36914)
Most & Associates
201 St. Charles Ave., Ste. 114 #101
New Orleans, LA 70170
Tel: (504) 509-5023
williammost@gmail.com




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